           Case 4:18-cv-07724-YGR Document 41 Filed 12/14/20 Page 1 of 2

                                                                                 S DISTRICT
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 1 THE WESTON FIRM                                                           T




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   GREGORY S. WESTON (239944)




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 2 greg@westonfirm.com                                                                       ERED




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   1405 Morena Blvd., Suite 201




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   San Diego, CA 92110                                                                                     ogers
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 4 Telephone:    (619) 798-2006                                              Judge Yvo




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                                                                    RT
   Facsimile:    (619) 343-2789                                                      12/14/2020




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   Counsel for Plaintiff                                                             D IS T IC T O
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 7
                                   UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
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10
      MAXINE BEASLEY, on behalf of
11    herself and all others similarly situated,   Case No: 4:18-cv-07724-YGR
12                                                          ORDER GRANTING
                            Plaintiff,             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL                               OF
13                                                 ENTIRE CASE WITHOUT PREJUDICE
               v.
14
      TOOTSIE ROLL INDUSTRIES, INC.,
15
                            Defendant.
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                    Beasley v. Tootsie Roll Industries, Inc., Case No. 4:18-cv-07724-YGR
                               PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
              Case 4:18-cv-07724-YGR Document 41 Filed 12/14/20 Page 2 of 2



 1 TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          Please take notice that, pursuant to Fed. R. Civ. P. 41(A)(1)(a), Plaintiff Maxine Beasley hereby

 3 voluntarily dismisses this action in its entirety. No stipulation or order of the Court is required to dismiss

 4 this case because the Defendant has not answered nor moved for summary judgment.

 5 DATED: December 9, 2020                                Respectfully Submitted,

 6                                                        /s/ Gregory S. Weston

 7                                                        THE WESTON FIRM
                                                          GREGORY S. WESTON
 8                                                        1405 Morena Blvd., Suite 201
                                                          San Diego, CA 92110
 9
                                                          Telephone:   (619) 798-2006
10                                                        Facsimile:   (619) 343-2789

11                                                        Counsel for Plaintiff

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                      Beasley v. Tootsie Roll Industries, Inc., Case No. 4:18-cv-07724-YGR
                                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
